                                               Certificate Number: 15317-OR-CC-026345791


                                                             15317-OR-CC-026345791




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 10, 2015, at 1:17 o'clock PM PDT, Sherry L
Garboden received from Access Counseling, Inc., an agency approved pursuant to
11 U.S.C. § 111 to provide credit counseling in the District of Oregon, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   October 10, 2015                       By:      /s/Jane Alba


                                               Name: Jane Alba


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).



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